Case 23-21031-CMB            Doc 14   Filed 07/20/23 Entered 07/20/23 16:07:03              Desc Final
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  Form 129
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re:
                                                             Bankruptcy Case No.: 23−21031−CMB
  Fanatic Impressions, LLC
  47−3082806                                                 Chapter: 7
    Debtor(s)




                                          FINAL DECREE

                   The estate of the above named debtor has been fully administered.



  IT IS ORDERED THAT:

         Pamela J. Wilson is discharged as trustee of the estate of the above named Debtor(s) and the
  bond is cancelled; the Chapter 7 case of the above named Debtor(s) is closed.




  Dated: July 20, 2023                                           Carlota M Bohm
                                                                 United States Bankruptcy Judge
